              Case 8-18-72034-las          Doc 24       Filed 09/25/18   Entered 09/25/18 15:06:25




     UNITED STATES BANKRUPTCY COURT
     EASTERN DISTRICT OF NEW YORK
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     In re:                                                              Case No. 8-18-72034-LAS
 
     Robert M. George,                                                   Chapter 13
 
                                          Debtor.
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                  ORDER DIRECTING ADEQUATE PROTECTION PAYMENT
 
              Upon the motion (the "Motion") of Robert M. George (the "Debtor"), by and through

    his counsel, Richard L. Stern, P.C., for an order compelling Marianne DeRosa, Esq., the

    chapter 13 trustee (the "Trustee") of the Debtor's estate, to make a pre-confirmation

    adequate protection           payment in the amount of $4,689.40 (the "Pre-Confirmation

    Payment") to Caliber Home Loans (the "Secured Creditor"), which holds a mortgage against

    the real property located at, and known as, 574 Smithtown Avenue, Bohemia, New York

    11716, in order to permit the Debtor to enter into a loan modification agreement; and the

    Motion having been served upon the Secured Creditor’s counsel and the Trustee; and no

    objections to the relief requested in the Motion having been filed; and a hearing on the

    Motion having been held on September 25, 2018; and the Court having found that the relief

    requested in the Motion to be in the best interests of the Debtor's creditors and estate; it is

    hereby

          ORDERED, that the Motion is granted to the extent provided herein; and it is further

          ORDERED, that Trustee shall remit the Pre-Confirmation Payment in the amount of $4,689.40

payable to “Caliber Home Loans, Inc.” at Caliber Home Loans, Inc., Attn: SPOC Department, 13801
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Wireless Way, Oklahoma City, OK 73134, within ten (10) days of entry of this Order.




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   Dated: September 25, 2018                                          Louis A. Scarcella
          Central Islip, New York                              United States Bankruptcy Judge
